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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Southern District of New York


                           Kelly Price                         )
                             Plaintiff                         )
                                v.                             )      Case No.    15 cv 5871
              D~tective Linda Simmons, et al.                  )
                            Defendant                          )

                                                APPEARANCE OF COUNSEL

To:       The clerk of court and all parties ofrecord

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          the New York County District Attorney's Office


Date:          02/26/2020


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